                                      Case 16-21346-RAM                          Doc 54        Filed 11/30/16       Page 1 of 2


                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         2nd Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                              Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR: Jose De Jesus Basilio                                             JOINT DEBTOR: Iraida Fernandez                     CASE NO.:       16-21346
 Last Four Digits of SS# xxx-xx-4785                                      Last Four Digits of SS# xxx-xx-4118

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $          1,074.88   for months          01      to       01       ;
           B.       $          2,521.55 for months            02      to       36       ;
           C.       $           2,010.41 for months           37      to       60       ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $ 3500+2500=6,000                 TOTAL PAID $                      3,500.00
                     Balance Due        $                2500 payable $ 69.45                    /month (Months         01 to      36 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
    Ocwen Loan Servicing
    POB 24738
 1. WPB, FL 33418                                                    TPP as of October             $ 1,302.00 Months (02 to 60 )
                                                                        Arrears Payment $                       /month (Months 0 to 0 )
      Account No: xxxxxxxxx2833                                         Regular Payment $                       /month (Months 0 to 0 )
    Americas Servicing Co
    Attention: Bankruptcy
    1 Home Campus                                                    Payoff at the time of filing $ 24,547.64
 2. Des Moines IA 50328                                              Arrears at the time of filing $ 10,310.24
                                                                         Arrears Payment $               171.84 /month (Months 01 to 60 )
                                                                        Regular Payment $                393.52 /month (Months 01 to 36 )
      Account No: xxxxxxxxx9250                                         Regular Payment $                  2.95 /month (Months 37 to 60 )

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments

                                                                                            0%          $          0.00       0 To 0                             0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                    Regular Payment $
Unsecured Creditors: Pay $ 332.58 /month (Months 01 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
         The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis during the
         pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax returns is on or before
         May 15 of each year the case is pending and that the debtor(s) shall provide the trustee with verification of their disposable income if their gross
         household income increases by more than 3% over the previous year’s income. The debtor will modify the plan to provide for the distribution
         of funds recovered from his pending lawsuit which are not exempt to the unsecured creditors.
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Ally Financial: Debtor will pay claim directly.
             Caliber Home Loans: Debtor will pay claim directly.

LF-31 (rev. 01/08/10)
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                                      Case 16-21346-RAM               Doc 54        Filed 11/30/16   Page 2 of 2


             Laguna Club East Condominium: Debtor will pay claim directly.
             Santander Consumer USA: Debtor will pay claim directly.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Jose De Jesus Basilio                                           /s/ Iraida Fernandez
 Jose De Jesus Basilio                                               Iraida Fernandez
 Debtor                                                              Joint Debtor
 Date: November 30, 2016                                             Date: November 30, 2016




LF-31 (rev. 01/08/10)
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                 Best Case Bankruptcy
